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                                                                   FILE[) IN THE
                                                            UNITED STATES DiSTRICT COURT
                                                                 DISTRICT OF HAWAII

 TOATUGA M. SAOFAIGAALII                                          OCT 0 ~ 2014         y;r
 Post Office Number 3893
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 Pago Pago, American Samoa 96700                               SUE BEITIA. CLERK
 Telephone: (684) 258-5323

 No Attorney for Plaitiff
 Represent Myself



                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF HAWAII

                                                       CV14 00455 KSC
 TOATUGA M. SAOFAIGAALII                      CIVIL NO. TORT CLAIM

              Plaintiff,                      (CIVIL RIGHTS ACTIONS)

       vs.                                    COMPLAINT FOR DECLARATORY
                                              JUDGEMENT:

 TRIPLER ARMY MEDICAL CENTER                  ) £XH-rB.I7:5. ·     4 -S
 1 Jarrett White Road                         )
 Honolulu, Hawaii 96859-5000.                 )

 Department Of The Army                       )
 United States Army Claims Service            )
 Office Of The Judge Advocate General         )
 4411 Llewellyn Avenue, Suite 5360            )
 Fort George G. Meade, Maryland 20755-55)

              Defendant.                      )




                                        (1)
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                                 COMPLAINT

 I am the Plaintiff, TOATUGA M. SAOFAIGAALII, Complaint against the above-

 Named Defendants' Decision received on August 26, 2014- Tuesday. Letter was

 dated on August 19, 2014. I have also attached this Letter to my Claim submitted

 to the United States District Court in Hawaii.

                    COMPLAINT FOR DECLARATORY JUDGEMENT

  Your Honorable Judge, I Highly Respectfully request your Declaratory Judgement

 about my Tort Claim.

       WOULD YOU KINDLY PLEASE SEE THE LIST OF BELOW OF MY COMPLAINT

  FIRST:      Every year I have to come from American Samoa to Tripier Army
              Medical Center for the Surgery of my Kidney at Urology Clinic, Can
              only do once, but not twice.

 SECOND:      On March 12, 2007 I came to Hawaii for the same procedure of my
              Kidney Stone. But they done twice, that cause a lots of Problems to
              me.

              1. First, Surgery was not successed. And than they asked me about
                 signing another Authorization so they can perform the second
                 Surgery. But I refused because it was so much Painful in my lower
                 body.
              2. Second, Doctors said if I do not sign the Authorization, than the
                 Cath inside my Penis will not be remove but I have to return to
                 American Samoa with the Cath inside my Penis.
              3. Third, my wife was so upset and angry and asked me not to sign
                 but seek outside doctor to paid the bill.

 THIRD:       I asked that I will do what they say. So, I signed the Authorization.

 FOURTH:      Here are all the Problems happened on my Second Surgery are listed
              below.

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              1. Un-Professional Practice of Doctors, they were NEGLIGENTLY OF
                 THERE RESPONSIBLITIES TO THE PATIENT LIKE ME.
              2. I signed the paper to Put me Sleep while they perform the Surgery
                 on me, but end-up, that they SHOTS ME MULTIPLES SPINAL
                 PUNCTURES in wishes of a Spinal Anesthesia that failed. And
                 cause to put make me sleep. Their decisions not me or my wife.
                 My wife Tumema A. Saofaigaalii, and my oldest son Toatuga J.
                 Saofaigaalii Jr. were with me during my Surgery.
              3. Multiples Punctures caused me Chronic Headaches, cause me
                 Numbness and Pain in both lower extremities, lower back pain
                 and bacterial infection to my vertebrae.
              4. Left a BROKEN PIECE OF METAL IN MY KIDNEY OR STOMACH after
                 the Surgery, and is still inside.
              5. Cause me having difficulty Maintaining an Erection and Painful
                 Urination.
              6. Since that Surgery, cause problems with my wife. Because my
                 PENIS IS NOT ERECTED ANYMORE. IT IS COMPLETED DEAD,
                 BECAUSE OF THAT SURGERY.
              7. I am suffering of STRESS, DISTRESS AND LACK OF HAVING OF
                 SLEEP. Night mare, wake-up middle of the night not getting any
                 sleep. Tired Ware ness, and feeling to take my life.
              8. Cause my wife having Heart Attack and requiring Hospitalization
                 and Implantation of a PACEMAKER.
              9. My oldest son TOATUGA J. SAOFAIGAALII JR., almost fail on his
                 BACHELOR DEGREE at CHARMANADE UNIVERSITY IN HAWAII.
                 Lack of his Study because he was at with me all times.
              10.Same thing happened to my Daughter SILAULELEI E.
                 SAOFAIGAALII, AT THE HAWAII PACIFIC UNIVERSITY. She was
                 worried about his dad, and also she was with me all times.


  PLEASE SEE ATIACHED: 7- EXHIBITS OF UNITED STATES DISTRICT COURT FORMS

                          19- EXHIBITS OF DOCUMENTS FOR MY TORT CLAIM

                                       {3)
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 7- EXHIBITS OF UNITED STATES DISTRICT COURT FORMS: (EXHIBITS: "(A- G)".

 4- EEO 1
 2-AO 440
 2-AO 240
 7- EEO 3
 1-JS 44
 l-AO 398
 l-AO 399

    19- EXHIBITS OF MY TORT CLAIM: (EXHIBITS: "(A-S)".


    1. Letter request to file my Case to the United States District Court.
    2. Letter from Department of the Army, Fort George G. Meade, Maryland.
       Dated on August 19, 2014.
    3. Letter from Department of the Army, Fort George G. Meade, Maryland.
       Dated on March 14, 2014.
    4. Letter responded to the letter from Department of the Army. The Plaintiff
       TOATUGA M. SAOFAIGAALII.
    5. Letter from the Plaintiff, TOATUGA M. SAOFAIGAALII to BG DENNIS D.
       DOYLE. COMMANDING GENERAL IN TRIPLER ARMY MEDICAL CENTER.
    6. Letter from the Department of the Army in Tripier Army Medical Center.
       Dated on October 23, 2013.
    7. Letter from the Plaintiff, TOATUGA M. SAOFAIGAALII to respond to Tripier
       Army Medical Center.
    8. Letter from the Office of the Center Judge Advocate in Tripier Army Medical
       Center. Dated on December 06, 2013.
    9. Letter to Department of the Veterans Affairs at Tripier Army Medical
       Center, requesting an assistance to my Claim with Tripier.
    lO.Letter to BG. Steve Jones, Commanding General at Tripier Army Medical
        Center. Dated on October 07, 2010.
    ll.Copy of Registered Letter to the Commanding General, BG. Steve Jones at
       Tripier Army Medical Center.
    12.Letter to the American Legion to help assist my Claim with Tripier Army
       Medical Center.
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 13.STANDARD FORM 95, TO CLAIM FOR DAMAGE, INJURY, OR DEATH, to
             Tripier Army Medical Center.
       14.Letter from Plaintiff, TOATUGA M. SAOFAIGMLII, to Commanding
             General BG. STEVE JONES.
       15.VA FORM 21-4138, STATEMENT IN SUPPORT OF CLAIM.
       16.LETTER FROM MY WIFE "(TUMEMA A. SAOFAIGAALII)" to witness what
             happened to her husband.
       17.LETTER FROM MY DAUGHTER "(SILAULELEI E. SAOFAIAALII)" also to
             witness her father conditions at the Kidney Stone Surgery.
       18.LETER FROM MY SON "(TOATUGA J. SAOFAIGMLII JR.t, to witness
             he saw by his two eyes and her mother what happened to me during
             my Surgery.
       19.Letter from Veterans Affairs, they are not responsible for my Injury,
             because The United States Army Hospital performed my Surgery. And
             also, it says on their Letter I have to go after Tripier Army Medical
             Center for my Claim.

                IN THE UNITED STATES DISTRICT COURT

                             DISTRICT OF HAWAII

 TOATUGA M. SAOFAIGAALII                          CIVIL NO: TORT CLAIM
 Post Office Number 3893
 Pago Pago, American Samoa 96799                  COMPLAINT FOR DECLARATORY
 Telephone: (684) 258-5323                        JUDGEMENT

                Plaintiff,

       vs.

 Tripier Army Medical Center
 1 Jarrett White Road
 Honolulu, Hawaii 96859-5000

 Department of the Army I U.S.A. Claims Service
 4411 Llewellyn Avenue, Suite 5360
 Fort George G. Meade, Maryland 20755-5125

                Defendant.                                     (5)
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 COMPLAINT FOR DECLARATORY JUDGEMENT FROM THE UNITED STATES DISTRICT

 OF HAWAIII:



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 GOD BLESS AMERICA:




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